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United States Courts
Snuthern District of Texas
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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS APR { 3 2023
HOUSTON DIVISION
LORI LYCHELLE KIMBRO, § Nathan Ochsner, Clerk of Court.
Plaintiff, §
§
v. § Civil Action No. 4:19-C V-03283 ~
§
BANK OF AMERICA, N.A., §
§
Defendant. §

PLANTIFE'S NOTICE OF NON-SUIT

Plantiff Lori Lychelle Kimbro files this Notice of Non-suit between Lori Lychelle Kimbro
and Defendant Bank of America, N.A., (BANA).

GROUNDS

This lawsuit was incorrectly filed by the Lane Law Firm on August 5, 2019 with Lori Lychelle
Ktmbro and John Michael Kimbro Jr as plantiff. John Michael Kimbro Jr., has never been a
party in this lawsuit. John Michael Kimbro Jr, never at any time met with or spoke to The Lane
Law Firm or Jeffrey Jackson. Representation in this case is suspect in that John Michael Kimbro
Jr is still styled in filings by both Defendant, Bank of America and previous legal counsel, The
Lane Law Firm and Jeffrey Jackson. Further attempts at securing new counsel have been
disrupted because no filing could be found removing him from the case (Docket 65 - filed
4/12/23 at 8:20am - Motion to Withdraw as Counsel for the Plantiff - Granted) and any new
counsel wants to speak with John Michael Kimbro Jr. in order to proceed. Defendant Bank of
America has concurred that John Michael Kimbro Jr is not a party in this lawsuit but required
plantiff, Lori Lychelle Kimbro to agree to a non judicial foreclosure agai nst John Michael

Kimbro Jr. being he is the sole loan holder as part of the settlement they wish to enforce.

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Furthermore, it has been brought to light that Defendant Bank of America, shows the debt as being
discharged. Effort has been made to contact Defendant Bank of America at the eight hundred
number listed 877-487-8185. The automated system states the following, “our records indicate
that this account is subject to a BK case or one or more borrowers received a discharge of
their personal obligation to repay the debt associated with this account. To acknowledge
that you are voluntarily using this system even though the debt associated with this account has
been discharged, please say yes now." There are a great deal of errors and
discrepancies made in this case and | see no way to move forward in good faith. My conscious

will not allow me to agree to anything that will benefit me and harm another.

CONCLUSION

It is my desire to dismiss this case on grounds of misrepresentation and | no longer wish to
pursue damages against defendant Bank of America, N.A., | will dismiss this case with

prejudice. | respectfully request an order for dismissal with prejudice be granted.

Dated: April 12, 2023 Respectfully Submitted,

fori Lychelle Kimbro, pro se

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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

LORI LYCHELLE KIMBRO,

Plaintiff

V. . CIVIL ACTION NO. 4:19-CV-03283
BANK OF AMERICA, N.A.,

Defendant

ORDER GRANTING PLANTIFF’S NOTICE OF NON-SUIT

On this day, came to be considered Plaintiff, Lori Lychelle Kimbro’s Notice of Non-Suit in the
above entitled and numbered cause, and the Court, being fully advised, finds that the request is founded

and is hereby, GRANTED. It is therefore:

ORDERED that the case be Dismissed for Non-Suit.

THE HONORABLE KENNETH M. HOYT
